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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


IN RE: DEALER MANAGEMENT                     MDL No. 2817
SYSTEMS ANTITRUST LITIGATION                 Case No. 18-cv-00864

This Document Relates To:                    Hon. Rebecca R. Pallmeyer
THE DEALERSHIP CLASS ACTION                  Magistrate Judge Jeffrey T. Gilbert



  MEMORANDUM OF LAW IN OPPOSITION TO CDK’S MOTION FOR 28 U.S.C.
 §1292(B) CERTIFICATION OF A PORTION OF THE COURT’S ORDER DENYING
                         SUMMARY JUDGMENT
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          Dealership Class Plaintiffs       (“Dealers”) respectfully submit this memorandum in

opposition to the motion by CDK Global, LLC (“CDK”) for 28 U.S.C. §1292(b) certification of a

portion of this Court’s order denying summary judgment (Dkt. 1397) (“Mot.”).

                                            BACKGROUND

          Dealers filed their consolidated class action complaint in June 2018 (Dkt. 198), alleging

that Defendants CDK and Reynolds entered an illegal conspiracy to eliminate competition in the

Data Integration Services and Dealer Management Systems markets, causing Dealers to pay

supracompeitive prices to access their own data. Among the claims in the Complaint were a series

of state law antitrust (Counts VI-XXXI) and state law consumer-protection claims (Counts XXXII-

L).

          In July 2018, CDK moved to dismiss (Dkt. 262) (“MTD”) arguing, among other things,

that the Illinois Antitrust Act (Count XI) and the South Carolina Unfair Trade Practices Act

(SCUTPA) (Count XLVII) contain provisions that preclude Dealers from pursuing a class action

under those state laws. See Dkt. 265 at 30, 43. 1 CDK also argued that Dealers were required to and

failed to satisfactorily fulfill the notice provisions of Hawaii’s Antitrust Act (Count X) and New

Jersey’s consumer protection statute (Count XLIV). See Dkt. 265 at 41. 2

          On January 25, 2019, the Court ruled on CDK’s MTD. See Dkt. 507. As to the argument

regarding the class action bars of Illinois and South Carolina, the Court held that a Shady Grove 3

analysis was necessary. Id. at 59. The Court concluded that although the Seventh Circuit has “not

squarely addressed which opinion [in Shady Grove] controls, it otherwise has indicated that Justice


1
 CDK did not argue in its MTD that Colorado’s Consumer Protection Act (Count XXXV) contains a similar
class action bar, although it included that argument on summary judgment. See Dkt. 973 at 27-32.
2
  CDK did not argue in its MTD that Utah’s Antitrust Act (Count XXVIII) contains a similar notice
requirement, although it included that argument on summary judgment. See Dkt. 973 at 32-34.
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    Shady Grove Orthopedic v. Allstate Ins. Co., 559 U.S. 393 (2010).



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Scalia’s plurality sets forth the controlling legal standard”; nonetheless, the Court did not decide

which opinion controls. Id. The Court then denied CDK’s MTD, whether analyzed under the Scalia

plurality or the Stevens concurrence. Id. As to CDK’s arguments regarding insufficient notice, the

Court noted that more extensive briefing would be needed and declined to rule on that basis, thus

allowing Dealers’ Hawaii and New Jersey claims to proceed. Id. at 61-62.

       On May 20, 2020, CDK moved for summary judgment against Dealers. See Dkt. 970. CDK

again argued, among other things, that Shady Grove should be interpreted such that: (1) the state

laws of Colorado, Illinois, and South Carolina barred Dealers from bringing class actions for those

claims in federal court (see Dkt. 973 at 27-32); and (2) the Dealers were required to (and failed to)

meet the requirements for providing notice under the state laws of Hawaii, New Jersey, and Utah

(see Dkt. 973 at 32-34).

       This Court rejected CDK’s arguments and denied summary judgement for CDK on both

issues. See Dkt. 1381 at 88-95. The Court first concluded that the Seventh Circuit has not decided

which Shady Grove opinion controls, and then it concluded that Justice Stevens’ opinion should

be applied. Applying that concurrence, the Court concluded that the class action bars of Colorado,

Illinois, and South Carolina were analogous to the New York class action bar at issue in Shady

Grove; thus, if New York’s bar was not so intertwined with that state’s substantive body of law as

to override Rule 23, then neither were those three states’ laws. Id. at 92-93. As to the notice

requirement, the Court concluded that Shady Grove (both the plurality and concurrence) made it

clear that the state notice requirements “conflicted” with Federal Rule 23. See id. at 94. And then

the Court concluded that the notice requirements were clearly procedural and not substantive under

the Stevens concurrence, so that they could not apply in the teeth of Rule 23.

       After the Court’s ruling on summary judgment, the following claims by Dealers—which




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represent the heart of the case—remain against defendant CDK: (1) Dealers’ nationwide class

claim for injunctive relief under § 1 of the Sherman Act; and (2) Dealers’ twenty-six claims for

injunctive relief and damages, each one under the law of a different state’s antitrust or unfair

competition law. CDK now moves under 28 U.S.C. §1292(b) for certification of an interlocutory

appeal to the Seventh Circuit of this Court’s application of Shady Grove.

                                            ARGUMENT

        To certify a question for interlocutory appeal under 28 U.S.C. §1292(b), the movant must

show that: (1) there is a question of law, (2) the question is controlling, (3) there exists substantial

grounds for difference of opinion so that the question is “contestable,” and (4) immediate appeal

would materially advance the ultimate termination of the litigation. See Ahrenholz v. Bd. of Trs. of

Univ. of Ill., 219 F.3d 674, 675–76 (7th Cir. 2000). Each of these requirements must be satisfied.

Id. at 676.

        “Judges have been stingy in accepting interlocutory appeals by certification under 28

U.S.C. §1292(b), because that procedure interrupts the progress of a case and prolongs its

disposition. That bogey is a principal reason why interlocutory appeals are so disfavored in the

federal system.” Blair v. Equifax Check Servs., Inc., 181 F.3d 832, 835 (7th Cir. 1999). Section

1292(b) must be used sparingly “lest interlocutory review increase the time and expense required

for litigation.” Asher v. Baxter Int’l., Inc., 505 F.3d 736, 741 (7th Cir. 2007). Interlocutory appeals

are “frowned on in the federal judicial system,” Sterk v. Redbox Automated Retail, LLC, 672 F.3d

535, 536 (7th Cir. 2012), because they “too frequently cause unnecessary delays in lower court

proceedings and waste the resources of an already overburdened judicial system,” Herdrich v.

Pegram, 154 F.3d 362, 368 (7th Cir. 1998), rev’d on other grounds, 530 U.S. 211 (2000). And all

of that is why §1292(b) is “not intended merely to provide review of difficult rulings in hard cases.”




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United States v. All Funds on Deposit with R.J. O'Brien & Assocs., 2012 WL 13209677, at *1

(N.D. Ill. Dec. 10, 2012) (quotation marks and citations omitted).

       The party seeking certification under §1292(b) bears the burden of persuading the court

that “exceptional circumstances justify a departure from the basic policy of postponing appellate

review until after the entry of a final judgment.” Powell v. Illinois, 2019 WL 10349404, at *1 (N.D.

Ill. Nov. 5, 2019) (citation omitted). And even if the movant has satisfied the statutory

requirements of §1292(b) and the district court certifies an order, the court of appeals has discretion

to accept or reject such an appeal. See 28 U.S.C. §1292(b).

       Here, CDK seeks immediate appeal of the two Shady Grove issues. CDK’s motion should

be denied because (1) immediate appeal would not materially advance the ultimate termination of

the litigation; and (2) the question at issue is neither controlling nor “contestable” for purposes of

§1292(b).

       I.      Immediate Appeal Would Not Materially Advance the Ultimate Termination
               of the Litigation

       CDK has failed to show that an immediate appeal would advance the ultimate termination

of the litigation. That fact alone dooms its motion.

       An immediate appeal “materially advances the ultimate termination of the litigation”

usually when a reversal on appeal would dispose of the case – or occasionally and at a minimum,

when it would result in a significant shortening of the case. See, e.g., Curry v. Chateau del Mar,

Inc., 2008 WL 5387118, at *3 (N.D. Ill. Dec. 22, 2008) (Pallmeyer, J.) (noting that certification

allows “for prompt resolution of purely legal questions that may dispose of the case,” and denying

certification because even with a reversal on the disputed legal issue the case would proceed as to

another defendant); Norfolk S. Ry. Co. v. Gee Co., 158 F. Supp. 2d 878, 883 (N.D. Ill. 2001)

(Pallmeyer, J.) (denying certification because even if hotly-contested CERCLA claim was



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dismissed on appeal, related state law claims would survive); State Farm Mut. Auto. Ins. Co. v.

Abrams, 2000 WL 152143, at *5 (N.D. Ill. Feb. 4, 2000) (Pallmeyer, J.) (granting certification

because reversal on appeal would entirely end the main claim, which involved a “threshold issue”

about whether the plaintiff had standing under RICO, while noting that the court “may well”

dismiss the related state law claims as well if the RICO claim was dismissed on appeal, because

of a specific and fatal problem with the state law claims); T.S. v. Cnty. of Cook, Illinois, 568 F.

Supp. 3d 940, 942 (N.D. Ill. 2021) (Pallmeyer, J.) (denying certification of one issue in part

because there would likely be an appeal after final judgment, and granting certification of second

issue because, if the Court of Appeals reversed on that issue, “then there is no need for this case to

proceed to trial”); see also Johnson v. Burken, 930 F.2d 1202, 1205 (7th Cir. 1991) (holding that

the fact that an interlocutory ruling under §1292(b) “may later be discovered not to have been

dispositive, would permit us to dismiss the appeal as having been improvidently granted”);

McFarlin v. Conseco Servs., LLC, 381 F.3d 1251, 1259 (11th Cir. 2004) (noting that the

“materially advance” requirement means that “resolution of a controlling legal question would

serve to avoid a trial or otherwise substantially shorten the litigation,” and quoting “particularly

persuasive” legislative history behind §1292(b) noting that the statute “will be used only in

exceptional cases where a decision of the appeal may avoid protracted and expensive litigation, as

in antitrust and similar protracted cases, where a question which would be dispositive of the

litigation is raised”); Katz v. Carte Blanche Corp., 496 F.2d 747, 755 (3d Cir. 1974) (recognizing

that the “clear intention” of the sponsors of §1292(b) was “to avoid a wasted trial”); Fannin v. CSX

Transp., Inc., 873 F.2d 1438 (Table), 1989 WL 42583 (4th Cir. Apr. 26,1989) (“Certainly the kind

of question best adapted to discretionary interlocutory review is a narrow question of pure law

whose resolution will be completely dispositive of the litigation, either as a legal or practical




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matter, whichever way it goes,” and noting that “[t]he mere fact that…resolution [of a non-

dispositive question] at this time may save pre-trial and trial effort and expense is not

determinative; that of course can be said of any interlocutory appeal”).

        Here, even if the Seventh Circuit reversed the entirety of this Court’s two holdings

concerning Shady Grove, that would not be dispositive of the case – or even close to dispositive.

In fact, the majority of the case would remain and would be entirely unaffected by such a ruling,

and class certification and a trial would still proceed. First, Dealers’ claim for nationwide

injunctive relief under § 1 of the Sherman Act would remain, and that claim – which asserts that

CDK and Reynolds engaged in an unlawful conspiracy – is central to the case. Indeed, that claim

is the broadest claim as to defendants’ challenged misconduct, geography, numbers of class

members, and the effect and importance of the relief sought; an injunction is not just some ancillary

remedy in this case. This Court has denied §1292(b) motions on precisely the grounds that even

though an appeal might resolve all damages issues in a class action (a situation not present here),

claims for injunctive relief and attorneys’ fees would remain. See, e.g., Brodsky v. HumanaDental

Ins. Co., 2011 WL 4842541, at *2 (N.D. Ill. Oct. 12, 2011).

        Second, only six of the twenty-six state law claims are affected by the Shady Grove issues;

the other twenty state law claims will move forward regardless of what the Seventh Circuit does.

Thus, an immediate appeal here will not speed up the case. See, e.g., Flynn v. Exelon Corp., 2022

WL 267915, at *3 (N.D. Ill. Jan. 28, 2022) (denying §1292(b) motion even though appeal could

fundamentally alter the plaintiff’s burden about reliance in a securities case and streamline class

certification, because only “one part” of the overarching litigation would potentially be resolved

and plaintiffs could still prevail under a different albeit more difficult theory).

        Furthermore, nothing about the Seventh Circuit’s opinion would materially shorten the




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remainder of the case in any other way. That is because no ruling by the Seventh Circuit would

clarify the remaining issues in any material regard or otherwise make this Court’s upcoming tasks

and rulings any easier or quicker. On an immediate appeal, the Seventh Circuit would be tasked

with looking only at a narrow and discrete issue – whether the claims in the six states can move

forward at all under Shady Grove – that has no effect on the rest of the case. Nothing in the Seventh

Circuit’s opinion would materially impact anything at class certification or trial, about liability or

damages or otherwise, except to possibly remove claims related to the six states. This is thus not

a case where an immediate appellate opinion about one issue may shed light on other, related

issues. (And even when an immediate appellate opinion about one issue can shed light on

remaining issues, that still is not enough. See, e.g., Flynn, 2022 WL 267915, at *3.)

       In its brief, CDK tries but fails to show that an immediate appeal will speed up this case.

CDK first argues that the Seventh Circuit’s decision “may restrict the number of causes of action

at issue by eliminating up to six state-law claims” (Mot. at 10), but that’s just an admission that

only six out of the remaining twenty-six state claims are even at issue under Shady Grove.

       CDK next argues that removing those six state-law claims “would accelerate the ultimate

resolution of the case” because “getting a definitive ruling now on these legal issues will avoid the

parties consuming resources on potentially wasteful class certification fact and expert

discovery….” (Mot. at 10). That makes little sense. First, class certification briefing opens on

October 3, 2023, and closes on January 4, 2024. During this time, expert discovery related to class

certification will be ongoing, including any additional Daubert challenges by CDK being filed by

November 14, 2023, and responses by Dealers on January 4, 2024 (CDK’s Daubert reply is due

on February 6, 2024). In addition, CDK has already indicated that it will not be moving for a stay

on any of these proceedings during the interlocutory appeal, if granted (see Dkt. 1387 at 22) so all




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or almost all of the effort related to both issues has already been expended or will be very soon;

thus, any immediate appeal now won’t save any time or money about those issues. The Court

recognized as much at the recent status conference hearing. (Dkt. 1394, Jul. 28, 2023, Hr’g Tr. at

27). Second, this case is unique because any appellate decision on the Shady Grove issues will not

conserve the substantial resources of the parties and the Court which have already been expended

at the summary judgment stage and the Daubert challenges.

        CDK next notes that a class could possibly have to be decertified or a class notice amended

if, ultimately, the six state-law claims were dismissed. (Mot. at 10). But the possibility of a class

decertification and class notice requirements exist in every class action; the mere prospect that a

district court may ultimately decertify a class (a possibility that exists in every certified class

action) is no basis for an immediate appeal. Furthermore, to the extent that there is a significant

risk of anything like that here, that would be a basis for a petition to immediately appeal under

Fed. R. Civ. P. 23(f), which specifically governs immediate appeals of class certification. See

Richardson Elecs., Ltd. v. Panache Broad. of Pa., Inc., 202 F.3d 957, 959 (7th Cir. 2000)

(discussing the relationship between §1292 and Rule 23(f) and noting that Rule 23(f) should be

used to address any class certification issues). If CDK loses class certification and wants to seek

an immediate appeal under Rule 23(f), it is free to do so, including raising issues that might

implicate Shady Grove.

        Finally, CDK argues that “having guidance from the Court of Appeals now could

drastically narrow the claims left for trial subject to resolution of class certification.” (Mot. at 10).

The argument fails. Removing six out of twenty-six state law claims is far from “drastic.” What’s

more, as explained above, the theories of the case for both sides are set so that adding or removing

a few states would not materially change anything. Dealers’ case at trial, like CDK’s case, will not




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meaningfully change based on the applicability of Shady Grove to six state law claims.

        Dealers appreciate that, at the recent hearing, the Court indicated that it might grant a

§1292(b) motion. (Dkt. 1394, Jul. 28, 2023, Hr’g Tr. at 9). But the Court also stated that an

immediate appeal “wouldn’t speed things up. I think you are right about that,” suggesting instead

that knowing for certain the damages numbers at issue might be useful. (Id. at 26). Respectfully,

the Court’s acknowledgement that an immediate appeal wouldn’t speed things up is what matters

here.

        II.    For Similar Reasons, the Question is Not Controlling

        Under §1292(b), “[a] question of law is controlling if its resolution is likely to affect the

course of the litigation, even if not certain to do so.” Sokaogon Gaming Enter. Corp. v. Tushie-

Montgomery Assocs., Inc., 86 F.3d 656, 658 (7th Cir. 1996)). The issue must be “serious to the

conduct of the litigation, either practically or legally.” Johnson v. Burken, 930 F.2d 1202, 1206

(7th Cir. 1991) (quoting Katz v. Carte Blanche Corp., 496 F.2d 747, 755 (3d Cir. 1974)).

        Here, the question at issue is not “controlling” as its resolution is not “likely to affect the

course of the litigation,” for the reasons explained above. In other words, not only will an

immediate appeal not speed up this case, but an immediate appeal will not even “control” the

outcome of the majority of the case – for example, any appellate ruling will have absolutely no

effect on Dealers’ nationwide class for injunctive relief under the Sherman Act.

        III.   The Question is Not “Contestable” for Purposes of §1292(B)

        The question at hand is also not “contestable” for purposes of §1292(b). A district court’s

order is contestable “if there are substantial conflicting decisions regarding the claimed controlling

issue of law, or the question is not settled by controlling authority and there is a substantial

likelihood that the district court ruling will be reversed on appeal.” Calvin v. Sheriff of Will Cty.,




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2006 WL 1005141, at *4 (N.D. Ill. Apr. 14, 2006) (quoting United States v. Moglia, 2004 WL

1254128, at *3 (N.D. Ill. June 7, 2004)). CDK has not met this heavy burden here.

        Although district courts have differed on the application of Shady Grove, this Court’s

ruling is firmly supported by Seventh Circuit decisions; as such, the likelihood of an appellate

reversal is not “substantial.” 4 See, e.g., Flynn, 2022 WL 267915, at *3 (holding exactly that with

a lengthy explanation); Shah v. Zimmer Biomet Holdings, Inc., 2019 WL 762510 (S.D. Ind. Feb.

20, 2019) (denying §1292(b) motion even though the Seventh Circuit hadn’t addressed the issue

and there were district courts going various ways, and concluding that the Seventh Circuit would

“likely” adopt what it thought was the “more persuasive” side of the split). And CDK has failed to

show that “a ‘substantial likelihood’ exists that the district court ruling will be reversed if

appealed.” Feit Electric Co., Inc., v. CFL Techs., LLC, 2019 WL 7020496, at *2 (N.D. Ill. Dec.

20, 2019); 16 Charles A. Wright, et al., Federal Practice and Procedure § 3930 (2d ed. rev.2011)

(“District judges have not been bashful about refusing to find substantial reason to question a ruling

of law, even in matters of first impression.”). In short, this Court got it right, and the mere fact that

some other courts disagree does not make the issue “contestable” for purposes of §1292(b).

        Moreover, even if the Shady Grove Stevens concurrence controls, that would change

nothing. CDK cites a host of cases showing that there is a circuit split about which Shady Grove

opinion to apply(Mot. at 6-7), but that mere split is not enough, as explained above. Perhaps even


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  In its summary judgment order, this Court noted that, although the Seventh Circuit has cited Justice
Scalia’s plurality opinion, neither of the two Seventh Circuit opinions cited by Dealers actually
“considered” which opinion controls or “addressed” the state class action bar arguably preempted by Rule
23. See Dkt. 1381 at 89-90 n.24. The Dealers respectfully disagree and contend that the Seventh Circuit has
held that the plurality opinion controls such that the state class action bars here cannot be applied, as other
courts have recognized. Since the briefing was submitted on summary judgment, the Seventh Circuit has
applied the plurality opinion a third time. See Newson v. Oakton Cmty. Coll., 2023 WL 355190, at *2 (7th
Cir. Jan. 23, 2023); see also In re Vascepa Antitrust Litig. Indirect Purchaser Plaintiffs, 2023 WL 2182046,
at *5 (D.N.J. Feb. 23, 2023) (“In contrast, the Seventh Circuit—home to Illinois—appears to have embraced
Justice Scalia’s opinion.”).



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more importantly, CDK can win the battle of which opinion applies but would still lose the war;

indeed, as this Court found, even under the concurrence, CDK’s arguments fail. See Dkt. 1381 at

90-93. As such, this case does not meaningfully turn on which of the Shady Grove opinions applies.

In that way, the circuit split about which opinion to apply is academic at best; in fact, it matters

mainly in that it provides an independent and sufficient basis for affirming this Court’s order.

        CDK then cites cases showing that there is a district court split as to whether, under the

concurrence in Shady Grove, statutes like those at issue can apply in the teeth of Rule 23. (Mot. at

7-9). Yet again, that split is not enough, as explained above. And when it comes to that issue, there

is not even a circuit court split, there are merely district courts coming out on both sides. This

Court did on summary judgment exactly what all of those district courts did – rule on a tough issue

as best it can – and the fact that it was a tough issue is simply not enough. None of those courts

appeared to have entertained a §1292(b) motion, and this Court should deny the §1292(b) motion

here.

                                              CONCLUSION

        For the foregoing reasons, the Court should deny CDK’s motion. 5




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 If this Court grants CDK’s motion to immediately appeal the Shady Grove portion of this Court’s summary
judgment order and then CDK files a petition for such an appeal in the Seventh Circuit, Dealers will oppose
that petition and file a conditional cross petition (to be considered if and only if CDK’s petition is granted)
seeking to immediately appeal the portion of this Court’s order rejecting Dealers’ § 1 Sherman Act
horizontal conspiracy claim for damages, Dkt. 1381 at 67, under Fed. R. App. P. 5(b)(2). See Dkt. 1381 at
67; Dkt. 1394, Jul. 28, 2023 Hr’g Tr. at 28 (Dealers reserving their right to cross petition on that basis);
Edwardsville Nat’l Bank and Trust Co. v. Marion Laboratories, Inc., 808 F.2d 648, 650-51 (7th Cir. 1987)
(noting that §1292(b) is about certifying orders, not questions, for immediate appeal, so that a district court’s
order on a §1292(b) motion cannot limit the issues that the appellate court can review on appeal). Dealers
are not required to file a cross-motion now under §1292(b) to preserve that right.



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DATED: September 8, 2023         Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I, Peggy J. Wedgworth, an attorney, hereby certify that on September 8, 2023, I caused a
true and correct copy of the foregoing MEMORANDUM OF LAW IN OPPOSITION TO
CDK’S MOTION FOR 28 U.S.C. §1292(B) CERTIFICATION OF A PORTION OF THE
COURT’S ORDER DENYING SUMMARY JUDGMENT to be filed and served
electronically via the Court’s CM/ECF system. Notice of this filing will be sent by e-mail to all
parties by operation of the Court’s electronic filing system or by mail to anyone unable to accept
electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing
through the Court’s CM/ECF System.


                                                     /s/ Peggy J. Wedgworth
